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               IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                     CENTRAL DIVISION




 SCOTT D. HEMSLEY,
           Petitioner,                                   MEMORANDUM DECISION AND
                                                         ORDER DENYING PLAINTIFF’S
                                                         MOTION TO VACATE, SET ASIDE,
                                                         OR CORRECT SENTENCE
                                                         PURSUANT TO 28 U.S.C. § 2255


                  vs.


 UNITED STATES OF AMERICA,                               Civil Case No. 2:07-CV-179 TS
           Respondent.                                   Criminal Case No. 2:02-CR-87 TS




       This matter is before the Court on Petitioner’s Motion to Vacate Set Aside, or Correct

Sentence, pursuant to 28 U.S.C. § 2255 (§ 2255 Motion).1 Petitioner is proceeding pro se in this

matter. Having considered the pleadings and the record before it, the Court finds that all of

Petitioner’s arguments, and their underlying bases, do not establish appropriate grounds upon

which to justify relief under § 2255. Based upon the reasons set forth more fully below, the

Court will deny the § 2255 Motion and dismiss this case.




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                                        I. BACKGROUND

       On February 6, 2002, Petitioner and several others were named in a six-count Indictment

for drug and firearm offenses.2 On February 26, 2003, Petitioner pleaded guilty to two counts

contained in the Felony Information.3

       Defendant was sentenced on December 8, 2003. At sentencing, the Court determined that

Petitioner’s appropriate offense level was 35. To reach this conclusion, the Court converted the

quantities of chemicals found in Petitioner’s home to marijuana equivalents. The Court

converted: 174.8 grams of pseudoephedrine to 1,748 kilograms of marijuana; 11.9 grams of

actual methamphetamine to 238 kilograms of marijuana; and 41 grams of a substance containing

methamphetamine to 8.2 kilograms of marijuana. The Court then converted the 2,324.7 grams of

iodine found, using a 33% conversion ratio, to determine how much methamphetamine could be

produced from the iodine. The Court found that 767.2 grams of methamphetamine could be

produced. That amount was then converted to its marijuana equivalency of 15,344 kilograms.

These amounts were then added together for a total of 15,590.2 kilograms. This placed

Petitioner at a base offense level of 36.

       The Court then applied a two-level enhancement for possession of a firearm, a six-level

enhancement for creating a substantial risk of harm to the life of a minor, and a three-level

enhancement for being the manager or supervisor of the criminal activity, bringing the offense

level to 47. The Court then accounted for several reductions: a three-level reduction for

acceptance of responsibility; a two-level reduction for successful post-offense rehabilitation; and



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a seven-level reduction for providing material assistance to the government. This brought the

total offense level to 35. This placed Petitioner’s sentence in a range of 188 to 235 months. The

Court sentenced Petitioner to a low-end sentence of 188 months followed by 60 months of

supervised release.

       On December 15, 2003, Petitioner filed a Notice of Appeal.4 On direct appeal, Petitioner

argued: (1) that the Court erred in adopting a 33% iodine-to-methamphetamine conversion ratio

in its drug quantity calculations; and (2) that the Court committed a Booker error in fact finding

that increased his sentence. On December 30, 2005, the Tenth Circuit Court of Appeals affirmed

Petitioner’s sentence.5 On March 26, 2007, Petitioner timely filed his § 2255 Motion.6

                                         II. DISCUSSION

       Petitioner raises three arguments in this Motion: (1) counsel was ineffective for failing to

object to the conversion ratio used by the Court and failing to raise a Booker objection; (2) his

Sixth Amendment rights were violated when the Court found certain facts that resulted in a nine-

level increase in offense level; and (3) his sentence is void under a recent Supreme Court

decision.

A.     INEFFECTIVE ASSISTANCE

       1.        Standard

       The Supreme Court has set forth a two-pronged test to guide the Court in making a

determination of ineffectiveness of counsel. “To demonstrate ineffectiveness of counsel,



       4
           Case No. 2:02-CR-87, Docket No. 377.
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           Case No. 2:02-CR-87, Docket No. 408.
       6
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[Petitioner] must generally show that counsel’s performance fell below an objective standard of

reasonableness, and that counsel’s deficient performance was prejudicial.”7

       To successfully claim ineffective assistance then, Petitioner must show two things: First,

that Counsel functioned deficiently.8 “This requires showing that counsel made errors so serious

that counsel was not functioning as the ‘counsel’ guaranteed by the Sixth Amendment.”9

Second, he must show that Counsel’s deficient functioning prejudiced Petitioner’s defense.10

“This requires showing that counsel’s errors were so serious as to deprive [Petitioner] of a fair

[proceeding], . . . whose result is reliable.”11 Without both of these showings, Petitioner may not

prevail in arguing that his conviction “resulted from a breakdown in the adversary process that

renders the result unreliable.”12

       A Court is to review Petitioner’s ineffective assistance of counsel claim from the

perspective of his counsel at the time he or she rendered the legal services, not in hindsight.13 In

addition, in evaluating counsel’s performance, the focus is not what is prudent or appropriate, but

only what is constitutionally compelled.14 Finally, there is “a strong presumption that counsel


        7
       United States v. Lopez, 100 F.3d 113, 117 (10th Cir. 1996) (citing Strickland v.
Washington, 466 U.S. 668 (1984)).
       8
            Strickland, 466 U.S. at 687.
       9
            Id.
       10
             Id.
       11
             Id.
       12
             Id.
       13
             Hickman v. Spears, 160 F.3d 1269, 1273 (10th Cir. 1998).
        14
             United States v. Cronic, 466 U.S. 648, 665 n.38 (1984).

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provided effective assistance, and a section 2255 defendant has the burden of proof to overcome

that presumption.”15

       2.        Analysis

                 a.      Conversion Ratio

       Petitioner first asserts that counsel was ineffective in failing to object to the iodine-to-

methamphetamine conversion ratio adopted by the Court. Petitioner’s argument fails as he

cannot show that he was prejudiced by counsel’s failure to object. The Court based its

determination to adopt the conversion ratio on the report of the Probation Office and information

received from the DEA representative. Further, the Tenth Circuit held that there was no plain

error in the Court adopting such a conversion ratio. For these reasons, Petitioner has not and

cannot show that his counsel’s failure to object to the use of the conversion ratio prejudiced him

in any way. As a result, Petitioner’s claim on this point is without merit.

                 b.      Booker Claims

       Petitioner also alleges that his counsel was ineffective for failing to raise a Booker

objection during sentencing. At sentencing, the Court found by a preponderance of the evidence

the following facts which increased Petitioner’s sentence: (1) the offense created a substantial

risk of harm to a minor child; (2) the conversion of iodine to methamphetamine; and (3)

Petitioner was the manager or supervisor of criminal activity involving at least five persons. On

appeal, the Tenth Circuit held that such findings constituted error under Booker, but went on to




       15
            United States v. Kennedy, 225 F.3d 1187, 1197 (10th Cir. 2002).

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affirm the sentence stating that “there is no unfairness in denying Mr. Hemsley a second

opportunity to challenge the factual support for the sentencing enhancements.”16

         As noted above, Petitioner was sentenced on December 8, 2003. Booker, however, was

not decided until January 12, 2005. The Court simply cannot find that Petitioner’s counsel fell

below an objective standard of reasonableness by failing to object on grounds that did not yet

exist. The Tenth Circuit has “rejected ineffective assistance claims where a defendant ‘faults his

former counsel not for failing to find existing law, but for failing to predict future law’ and have

warned ‘that clairvoyance is not a required attribute of effective representation.’”17 Thus,

counsel’s performance was not deficient.18 Additionally, Petitioner can show no prejudice. The

Tenth Circuit specifically stated that “it would be too speculative to suppose that the court would

reduce the sentence further under Booker.”19 Therefore, Petitioner’s ineffective assistance claim

fails.

B.       BLAKELY/BOOKER ISSUES

         Petitioner’s next argument centers on the recent Supreme Court cases of Blakely v.

Washington20 and United States v. Booker.21 Petitioner argues that the Court’s findings resulting



         16
              Case No. 2:02-CR-87, Docket No. 408, at 14.
         17
        Bullock v. Carver, 297 F.3d 1036, 1052 (10th Cir. 2002) (quoting United States v.
Gonzalez-Lerma, 71 F.3d 1537, 1542 (10th Cir. 1995)).
         18
         See United States v. Phillips, 204 Fed.Appx. 765, 766–67 (10th Cir. 2006) (holding
counsel’s failure to anticipate Booker was not ineffective assistance).
         19
              Case No. 2:02-CR-87, Docket No. 408, at 13.
         20
              540 U.S. 965 (2004).
         21
              125 S.Ct. 738 (2005).

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in an increase in Petitioner’s sentencing guidelines offense level—based upon facts not expressly

admitted by Petitioner or found by a jury beyond a reasonable doubt—were in violation of his

Sixth Amendment rights.

       Simply put, Booker does not apply to cases on collateral appeal. The Tenth Circuit has

explained that “[a] new rule is not made retroactive to cases on collateral review unless the

Supreme Court holds it to be retroactive.”22 The Supreme Court in Booker explicitly held that it

applied “to all cases on direct review.”23

       The Tenth Circuit has specifically considered this issue and ruled squarely: “we hold that

Blakely does not apply retroactively to convictions that were already final at the time the Court

decided Blakely, June 24, 2004.”24 The Tenth Circuit has also held that “the rule announced in

Booker is not retroactive.”25 Because Petitioner’s conviction was clearly final by June 24, 2004,

the Court finds that neither Blakely nor Booker applies retroactively to this case.

C.     CUNNINGHAM v. CALIFORNIA

       Petitioner’s final arguement is that his sentence is unconstitutional under the recent

Supreme Court case of Cunningham v. California.26 In Cunningham, the Court reviewed

California’s determinate sentencing law. The Court held that the determinate sentencing law,

which assigns the trial judge the authority to find facts that expose a defendant to an elevated


       22
            Leonard v. United States, 383 F.3d 1146, 1148 (10th Cir. 2004).
       23
            125 S.Ct. at 769, citing Griffith v. Kentucky, 479 U.S. 314, 328 (1987).
       24
            United States v. Price, 400 F.3d 844, 849 (10th Cir. 2005) (emphasis added).
       25
        United States v. Bellamy, 1411 F.3d 1182, 1186-87 (10th Cir. 2005) (“like Blakely,
Booker does not apply retroactively on collateral review.”).
       26
            127 S.Ct. 856 (2007).

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“upper term” sentence, unconstitutional.27 The Court reaffirmed its earlier ruling that the federal

sentencing guidelines were constitutional.28

       Petitioner argues that his sentence is void as a result of Cunningham. The Court can find

no reason why Petitioner’s sentence would be rendered void as a result of the Court’s decision in

Cunningham. As a result, Petitioner’s claim is without merit.

                                       III. CONCLUSION

       It is therefore

       ORDERED that Petitioner’s Motion to Vacate, Set Aside, or Correct Sentence Pursuant

to 28 U.S.C. § 2255 (Docket No. 1 in Case No. 2:07-CV-179 TS) is DENIED. It is further

       ORDERED that, pursuant to Rule 8(a) of the Rules Governing § 2255 Cases, an

evidentiary hearing is not required.

       The clerk of the court is directed to close this case forthwith.

       DATED this 17th day of August, 2007.


                                               BY THE COURT:


                                               ___________________________________
                                               TED STEWART
                                               United States District Judge




       27
            Id. at 871.
       28
            Id. at 870.

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